     Case 1:21-cr-00034-CRC Document 121 Filed 07/28/22 Page 1 of 14

                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES

v.                                            CASE NO: 1:21-cr-00034

Thomas Robertson

       Defendant


           DEFENDANT’S MEMORANDUM IN AID OF SENTENCING

       Defendant, Thomas Robertson, by and through counsel, respectfully

submits this memorandum in aid of sentencing. For the reasons stated below,

Mr. Robertson respectfully requests that the Court sentence Thomas Robertson

to 15 months, followed by three years of supervised release.


I.     PRELIMINARY STATEMENT

       For the reasons set forth below, the Defendant believes that the United

States Sentencing Guidelines (the "Sentencing Guidelines" or the "Guidelines")

should not be used to determine his sentence in this case and respectfully

requests that this Court impose a non-Guidelines sentence that is fair and below

any sentence suggested by the Guidelines.

       While there have been over 700 prosecutions since January 6, 2021, this

case and this Defendant are unique. As an initial matter, Mr. Robertson was an

off-duty police officer convicted by a jury of many charges arising from the events

of January 6, 2021. The events from January 6, 2021 are consistently present in

the National News Headlines with hundreds of cases pending in the Courts.



                                   Page 1 of 14
      Case 1:21-cr-00034-CRC Document 121 Filed 07/28/22 Page 2 of 14


II.     STATUTORY AND GUIDELINE ANALYSIS

1.      Obstruction of an Official Proceeding and Aiding and Abetting, in
        violation of Title 18, United States Code, Section 1512(c)(2) and 2)

        Maximum Statutory Penalty: 20 years of imprisonment, a fine up to
        $250,00.00


 Base Offense Level           14                           U.S.S.G. § 2J1.2(a)




2.      Civil Disorder and Aiding and Abetting, in violation of Title 18, United
        States Code, Section 231(a)(3) and 2)

        Maximum Statutory Penalty: 5 years of imprisonment, a fine up to
        $250,00.00

 Base Offense Level           10                           USSG § 2A2.4(a)



3.      Entering and Remaining in a Restricted Building or Grounds, in
        violation of Title 18, United States Code, Section 1752(a)( I) and (b)(I )(A))

        Maximum Statutory Penalty: The maximum term of imprisonment is 10
        years for this Class C Felony. 18 USC §§ 1752(a)(1) and (b)(1)(A).

 Base Offense Level           4                            USSG § 2B2.3(a)
 Special Characteristics      +2 (Trespass)                USSG §
                                                           2B2.3(b)(1)(A)(vii):
 Special Characteristics      +2 Possession of a           USSG. § 2B2.3(b)(2):
                              dangerous weapon


4.      Disorderly and Disruptive Conduct in a Restricted Building or
        Grounds, in violation of Title 18, United States Code, Section 1752(a)(2)
        and (b)(1)(A))

        Maximum Statutory Penalty: The maximum term of imprisonment is 10
        years for this Class C Felony. 18 USC §§ 1752(a)(2) and (b)(1)(A)

 Base Offense Level           10                           USSG. § 2A2.4(a)

                                     Page 2 of 14
       Case 1:21-cr-00034-CRC Document 121 Filed 07/28/22 Page 3 of 14



5.        Disorderly Conduct in a Capitol Building, in violation of Title 40, United
          States Code, Section 5104(e)(2)(D))

 Base Offense Level            N/A                        this offense is a Class B
                                                          misdemeanor; the
                                                          Guidelines
                                                          do not apply to it. See 18
                                                          U.S.C. § 3559; U.S.S.G.
                                                          § 1B1.9.

          Maximum Statutory Penalty: The maximum term of imprisonment is six
          months for this Class B Misdemeanor. 40 USC § 5104(e)(2)(D).

6.        Obstruction of an Official Proceeding, in violation of Title 18, United
          States Code, Section 1512(c)(1))

 Base Offense Level            14                         USSG. § 2J1.2(a)


          Maximum Statutory Penalty: 20 years of imprisonment, a fine up to
          $250,00.00


III.      Whether Special Offense Characteristics Apply

          The Government has indicated an adjusted offense level of 33. In coming

to that determination, they have included enhancements under USSG

§§2Jl.2(b)(l)(B), USSG 2Jl.2(b)(2), USSG. § 2J1.2(b)(3)(C): USSG § 3C1.1,

USSG § 3B1.1


       a. USSG §§2Jl.2(b)(l)(B) “the offense involved causing or threatening to
          cause physical injury to a person, or property damage, to obstruct the
          administration of justice.”

       Reference to Count One and Count 6

       Defendant respectfully submits that these enhancements are not applicable

because at no time did the Defendant cause or threaten physical injury to a

person or property. The operative language in USSG §§2Jl.2(b)(l)(B) is “causing
                                      Page 3 of 14
    Case 1:21-cr-00034-CRC Document 121 Filed 07/28/22 Page 4 of 14

or threatening to cause physical injury.” the Defendant was convicted of carrying

or possessing a dangerous weapon. He was not convicted of using the

threatening to cause physical injury to a person or property damage. In the case

at bar, Mr. Robertson was convicted of possession of carrying or possessing the

weapon, not using it.


   b. USSG 2Jl.2(b)(2) “the offense resulted in substantial interference with the
      administration of justice.”


   Reference to Count One and Count 6

       The Defense disagrees with USSG§ 2J1 .2(b)(2) applying here. The

USSG has defined substantial interference with the Administration of Justice

includes "a premature or improper termination of a felony investigation; an

indictment, verdict, or any judicial determination based upon perjury, false

testimony, or other false evidence; or the unnecessary expenditure of substantial

governmental or court resources." While we submit that the Government had to

expend resources, Mr. Robertson did nothing that increased the resources.

United States v. Duran, 41 F.3d 540, 546 (9th Cir.1994); Jones, 900 F.2d at 522

(all holding that section 2J1 .3(b)(2)'s enhancement does not apply when the

Government fails to identify any expenses in addition to the costs of bringing the

Defendant to trial for the perjury offense). United States v. Norris, 217 F.3d 262,

273 (5th Cir. 2000)


   c. USSG § 2J1.2(b)(3)(C): “was otherwise extensive in scope, planning, or
      preparation.”

   Reference to Count One and Count 6

                                    Page 4 of 14
     Case 1:21-cr-00034-CRC Document 121 Filed 07/28/22 Page 5 of 14


          Mr. Robertson traveled to Washington, DC, with thousands of other

people in this case. The mere fact that he prepared to go to the rally by gathering

water and traveling with others does not suggest extensive scope in planning. It

was clear that he followed others into the building, and there was no planning on

his part.


    d. USSG § 3C1.1 USSG § 3B1.1 “(obstructing administration of justice):
       “directing or procuring another person to destroy or conceal evidence that
       is material to an official investigation or judicial proceeding . . . or
       attempting to do so”

    Reference to Count One, Count Two, Count Four

          The Defense disagrees with USSG §381 .1 (c). The Defense did not

recruit Mr.Fracker. Furthermore, Mr. Fracker went into the Capitol first. While

they traveled together and Mr. Robertson provided transportation, there was no

leadership role. Accordingly, the Guidelines direct the sentencing judge to

consider several factors, including the exercise of decision-making authority, the

nature of participation in the commission of the offense, the recruitment of

accomplices, the claimed right to a larger share of the fruits of the crime, the

degree of participation in planning and organizing the offense, the nature, and

scope of the illegal activity, and the degree of control and authority exercised

over others. See United States v. Bapack, 129 F.3d 1320, 1324 (D.C. Cir. 1997).

Mere "control over a scheme rather than over a participant in a scheme,"

however, does not warrant a sentencing adjustment pursuant to section 381 .1

(c). Id

    e. USSG § 2A2.4(b)(1)(b) “a dangerous weapon (including a
    firearm) was possessed, and its use was threatened.”
                                     Page 5 of 14
      Case 1:21-cr-00034-CRC Document 121 Filed 07/28/22 Page 6 of 14


      Reference to Count Two Count Four

         The Defense concedes that the walking stick pursuant to USSG could be

considered a dangerous weapon given the jury's decision; however, this walking

stick was not used against an officer or threatened against an officer. One of the

Government’s witnesses said he felt some contact, and it was unclear whether it

was accidental physical contact.


      f. USSG. § 2J1.2(b)(3)(B): the offense “involved the selection of any
         essential or especially probative record, document, or tangible object, to
         destroy or alter.”

      Reference to Count 6


         This enhancement should not apply since cell phone destruction (although

disputed) was not an essential probative record. The Government did not or was

not relying on the cell phone for its case in chief. There was nothing to suggest

this “essential or probative” to the Government’s case in chief. Furthermore,

pursuant to USSG §3C1.1, comment (n.7),1 this enhancement should not apply.



IV.      GROUPING OF COUNTS ONE, TWO, THREE, FOUR, AND SIX

         Under USSG §3Dl.2, counts one, three, and four of which Robertson was

convicted should be grouped to calculate the Guidelines range. Section 3D 1.2



1 Inapplicability of Adjustment in Certain Circumstances.—If the defendant is convicted of an offense
covered by §2J1.1 (Contempt), §2J1.2 (Obstruction of Justice), §2J1.3 (Perjury or Subornation of Perjury;
Bribery of Witness), §2J1.5 (Failure to Appear by Material Witness), §2J1.6 (Failure to Appear by
Defendant), §2J1.9 (Payment to Witness), §2X3.1 (Accessory After the Fact), or §2X4.1 (Misprision of
Felony), this adjustment is not to be applied to the offense level for that offense except if a significant
further obstruction occurred during the investigation, prosecution, or sentencing of the obstruction offense
itself (e.g., if the defendant threatened a witness during the course of the prosecution for the obstruction
offense).
                                               Page 6 of 14
     Case 1:21-cr-00034-CRC Document 121 Filed 07/28/22 Page 7 of 14

reads, in pertinent part, as follows:


        All counts involving substantially the same harm shall be grouped into a
        single Group. Counts involve substantially the same harm within the
        meaning of this rule:


                                    ***

        (d) When the offense level is determined largely on the basis of the total
        amount of harm or loss, the quantity of a substance involved, or some
        other measure of aggregate harm, or if the offense behavior is ongoing or
        continuous in nature and the offense guideline is written to cover such
        behavior.

Counts Two and Six embody conduct that is treated as a specific offense

characteristic in the applicable guideline to another of the counts and should be

grouped with Counts One, Three, and Four.

        In accordance with the jury's verdict, all of the offenses of conviction

should be grouped because they all relate to a single course of conduct, a

scheme to defeat a sanctions regime - that, in the words of USSG §3Dl.2(d), "is

ongoing or continuous in nature." Therefore, these counts should be grouped

under USSG §3Dl.2(d), and, pursuant to USSG §3Dl.3(b), the Court should

"apply the offense guideline that produces the highest offense level."


Guidelines Calculation

        Based on the preceding analysis, Robertson's offense level should be 18

(14 +4 for enhancements), resulting in a Guidelines Range of 27 to 33 months.

V.      Relevant Sentencing Factors Under 18 USC §3553


     In determining the minimally sufficient sentence, §3553(a) further directs

sentencing courts to consider the following factors, among other things:
                                        Page 7 of 14
    Case 1:21-cr-00034-CRC Document 121 Filed 07/28/22 Page 8 of 14

   (1)      the nature and circumstances of the offense and the history and
            characteristics of the Defendant;
   (2)      the need for the sentence imposed- (A) to reflect the seriousness of
            the offense, to promote respect for the law, and to provide just
            punishment for the offense; (B) to afford adequate deterrence to
            criminal conduct; (C) to protect the public from further crimes of the
            Defendant; and (D) to provide the Defendant with needed educational
            or vocational training, medical care, or other correctional treatment in
            the most effective manner.
   (3)      the kinds of sentences available.

                                          ***

   (6) the need to avoid unwarranted sentence disparities among defendants
       with similar records who have been found guilty of similar conduct; and
   (7) the need to provide restitution to any victims of the offense.


   A. Nature and Circumstances of the Offense

         The seriousness of this case is reflected in that Congress continues to

have hearings regarding the circumstances that led to January 6, 2021, event.

There is no question that the circumstances are unique and devasting to our

Country’s reputation and standing in the World. However, Mr. Robertson's role

in the January 6 event was similar to others that were charged with lesser

offenses. The event occurred on video, where Mr. Robertson is seen entering

the United States Capitol building with a walking stick. While he was convicted of

carrying a dangerous weapon, Mr. Robertson never used this weapon against

anyone.


   B. History and Characteristics of the Defendant

         Mr. Robertson has been a police officer for the last 14 years. His entire

life has been spent in service to others. Upon graduating high school, he

enlisted in the United States Army Reserve and was honorably discharged in

                                     Page 8 of 14
     Case 1:21-cr-00034-CRC Document 121 Filed 07/28/22 Page 9 of 14

2009. While in the United States Army, he was a military police officer. After

finishing his duty in the Army, he was employed as a local police offer. In 2010

he began working for a private military contract company where an IED in Iraq

injured him. After leaving the private military contractor, he returned to work at

the Rocky Mount Police Department, where he has worked until January 7, 2021.

Mr. Robertson has been detained2 since March 2021. Attached hereto are his

military and law enforcement records.

        Before incarceration, Mr. Robertson lived in a modest house with his wife.

His two children from a prior marriage are grown adults. Being filed herewith are

several character letters regarding Mr. Robertson. They include letters from

individuals that know the man and his character. All of these letters give an

insight to the person that he truly is and that is a person that is very different from

the one that the charges against him would suggest. There is also a letter from

Mr. Robertson, which I urge Your Honor to pay specific attention to as it explains

his remorse more than any sentencing memorandum could. While Mr.

Robertson does not agree with the Jury’s ultimate decision that he went into the

building with a weapon to disrupt congress he nevertheless accepts the Jury’s

verdict.    Mr. Robertson, a dedicated law officer of two decades, admits that he

fell into the rabbit hole of “election conspiracy theories.” (Page 2. Defendant’s

Letter to the Court).


    C. The Need for the Sentence Imposed to Reflect the Seriousness of the
       Offense and Promote Respect for the Law



2 Conditions of Release were revoked because of new allegations of criminal conduct. There have been no
new charges to date regarding these allegations.
                                            Page 9 of 14
    Case 1:21-cr-00034-CRC Document 121 Filed 07/28/22 Page 10 of 14

        The events of January 6, 2021, were both serious and tragic. And yet, as

reflected above, not every actor that day had equal culpability. Each person

should be judged by their conduct. Mr. Robertson is a police officer and as told

by multiple prosecutors he had a higher duty of knowledge than others. While

that may be true his conduct, though admittedly very wrong, his conduct was

non-violent. Police officer or not he is subject to the same frailties of every

human-being listening to the leader of the Country, the leader of the free world,

spew conspiracy theories.      Regardless, of his Co-Defendant’s plea to

conspiracy he submits he never entered into agreement, verbal or otherwise with

Mr. Fracker. Mr. Robertson acknowledges its his own conduct that lead the Jury

to its verdict.

        As a police officer, he has always had the utmost respect for the law, even

though his actions on January 6th seem to suggest otherwise. Mr. Robertson,

like many Americans, believed the President of the United States was telling him

that the election was stolen. He had never been political before, but the

President was bolstering that the election was stolen and given his state of mind

at the time, he believed it. Mr. Robertson has been educated in the Criminal

Justice System from being a lifelong police officer. Still, at this time in our

Country’s history, he firmly believed that he needed to be heard. Mr. Robertson

has repeatedly stated that he would never harm a fellow officer, and if given

direct orders from a fellow officer, he would not have gone into the building.

Nevertheless, he recognizes that even if not instructed by an officer, he should

have known that he was not permitted on the premises. Furthermore, his social

media language was completely inappropriate, which he also admits.
                                     Page 10 of 14
   Case 1:21-cr-00034-CRC Document 121 Filed 07/28/22 Page 11 of 14


   D. Adequate Deterrence

       18 USC §3552(a)(2)(B) and (C) states that deterrence encompasses the

need to deter crime generally as well as the need to protect the public from

further crimes by this specific Defendant. In an instant, Mr. Robertson has lost

virtually everything he spent his life making. His incarceration has completely

devastated his family. He can never possess a gun and he will never be a law

enforcement officer again.

       A lenient sentence would still satisfy the considerations of specific and

general deterrence. First, Mr.Robertson will never commit any other crime. He

will never be in a position to commit another crime like this. Until the time Mr.

Robertson was arrested here, he was a highly respected member of his

Community and the police community. He has never been charged with a

crime. That has all changed; his reputation is shattered, and he will have to find

a new way to make a living.

       The Court in United States v. Booker, 543 U.S. 220 (2005), held that the

destruction of a defendant's livelihood was an element to be considered in

determining whether the Defendant was entitled to a downward departure under

the Sentencing Guidelines. Pre-Booker, a court could depart downward where a

defendant's business had been destroyed, preventing re-entry into criminal life.

See United States v. Gaind, 829 F. Supp. 669, 671 (S.D.N.Y. 1993) (downward

departure where defendant EPA tester's livelihood was destroyed and he could

not re-enter the testing profession, preventing him from possibly engaging in

additional criminal activity). The Gaind court further declared:

                                    Page 11 of 14
   Case 1:21-cr-00034-CRC Document 121 Filed 07/28/22 Page 12 of 14


       “Because of the destruction of the Defendant's... business, the necessity for
       achieving the purposes of sentencing through sentencing itself [i.e., prison
       time] has been reduced."

Id. Post-Booker, many of the factors that used to be possible grounds for a departure

under the Guidelines can now be considered by the district court, with greater

latitude, under 18 U.S.C §3553(a). See, e.g., United States v. McBride, 434 F.3d

470, 476-77 (6th Cir. 2006); United States v. Mickelson, 433 F.3d 1050, 1055 (8th

Cir. 2006).

       Mr. Robertson's shattered career and consequent bleak economic

prospects constitute an important factor in this Court's 18 U.S.C. § 3553(a)(2)(B)

analysis of the adequacy of deterrence. United States v. Speed Joyeros, S.A.,

204 F. Supp. 2d 412 (E.D.N.Y. 2002).

       Mr. Robertson currently receives a military disability pension. Mr.

Robertson’s wife relies on the pension payments to keep the mortgage paid.

Pursuant to 38 CFR § 3.666, if Mr. Robertson receives a sentence exceeding 60

days his pension payments shall be discontinued.


   E. The Need to Avoid Unwarranted Disparities

       United States v. Hodgkins, 1:21-CR-00188-RDM, the Defendant was

convicted of 18 U.S.C. § 1512(c)(2). The minute orders from that matter:

       (1): In connection with the sentencing of Defendant, the Court has
       requested and obtained, via email, from the U.S. Sentencing Commission
       the following information regarding the sentencing of offenders with
       similar records who have been found guilty of similar conduct to
       Defendant in this case. The Sentencing Commission reports as follows:

       "In the case before you the Defendant pled guilty to obstruction of an
       official proceeding in violation of 18 U.S.C. § 1512(c)(2). The guideline
       that applies is USSG 2J1.2. Your Probation Office has calculated the
                                    Page 12 of 14
   Case 1:21-cr-00034-CRC Document 121 Filed 07/28/22 Page 13 of 14

      guideline range as follows: BOL 14, a 3-level increase for substantial
      interference with the administration of justice, and a 3-level adjustment
      for acceptance of responsibility, resulting in a final offense level (FOL)
      of 14. The offender is assigned to Criminal History Category I. The
      applicable guideline range is 15-21 months.

      "We examined our records from fiscal year 2014 through 2020, and
      found 31 cases that match this guideline calculation. None of these cases
      were reported from the District of Columbia. In only nine cases was 18
      U.S.C. § 1512(c)(2) a statute of conviction.

      "For the 31 cases matching the guideline calculation under USSG §
      2J1.2, in 16 cases (51.6%) the offender received a prison only sentence,
      in six cases (19.4%) the offender received prison with an alternative, in
      two cases (6.4 %) the sentences was probation with some condition of
      confinement, and in seven cases (22.6%) the sentence was probation
      only.

      "Of the 31 cases, in seven (22.6%) the sentence was within the guideline
      range. The average sentence in those cases was 19 months (median = 21
      months). Two cases (6.5%) were above range: one upward departure to
      36 months and one upward variance to 48 months. The remaining 21
      cases (71.0%) were below range. Thirteen cases were below range
      variances. The average sentence in those cases was seven months
      (median = six months). One case was downward departure to 14
      months, another was a government departure to probation, and the
      remaining case was a government variance to six months. The remaining
      six cases were substantial assistance cases.

      "In order to provide a more narrowly-tailored analysis, we then limited
      our analysis to the nine cases in which section 1512(c)(2) was one of the
      statutes (or the only statute) of conviction. Of those nine cases, in two
      the sentence was within the guideline range. The sentences were 15 and
      21 months. There was one upward departure to 36 months. Three cases
      were below range variances. The average sentence in those cases was 10
      months (median = 12 months). One case was a downward departure to
      14 months. The remaining two cases were substantial assistance cases."
      Signed by Judge Randolph D. Moss on 07/13/2021. (lcrdm3) (Entered:
      07/13/2021)

      Despite all of these very difficult circumstances, the Defendant has at all
times comported himself as the gentleman he is, showing respect for the Court
                                  Page 13 of 14
   Case 1:21-cr-00034-CRC Document 121 Filed 07/28/22 Page 14 of 14

and the parties. We appreciate that the Court will consider all of the favorable
facts and the letters which have been provided to it on the Defendant's behalf
and will also consider the events underlying his conviction.
      We ask for the Court to "temper justice with mercy" (Portia, The Merchant
of Venice), and impose a "sentence sufficient, but not greater than necessary" to
meet the directives of 18 U.S.C. §3553(a), which, we submit, is a non-Guidelines
sentence significantly below the Guidelines range. Mr. Robertson has currently
served approximately 13 months as of today’s date.




                                   Respectfully submitted,
                                   ROLLINS AND CHAN

                                   /s/
                                   _________________________
                                   Mark Rollins
                                   DC Bar Number: 453638
                                   Counsel for Thomas Robertson
                                   419 7TH Street, NW
                                   Suite 405
                                   Washington, DC 20004
                                   Telephone No. 202-455-5610
                                   Direct No: 202-455-5002
                                   mark@rollinsandchan.com

Date Filed: July 28, 2022


                            CERTIFICATE OF SERVICE

       I hereby certify that on July 28, 2022, this motion was electronically
filed pursuant to the rules of the Court.


                                                   /s/
                                                   ________________________
                                                   Mark Rollins




                                   Page 14 of 14
